            Case 1:12-cv-01032-ESH Document 79 Filed 02/21/18 Page 1 of 4



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

STATE NATIONAL BANK OF BIG                     )
SPRING et al.,                                 )
                                               )
                              Plaintiffs,      )
                                               )
        v.                                     ) Case No. 1:12-cv-01032 (ESH)
                                               )
JACOB J. LEW, in his official capacity as      ) Judge: Hon. Ellen S. Huvelle
United States Secretary of the Treasury and ex )
officio Chairman of the Financial Stability    )
Oversight Council, et al.,                     )
                                               )
                              Defendants.      )


             ERRATA SHEET CORRECTING JOINT MOTION REQUESTING
                  ENTRY OF JUDGMENT AGAINST PLAINTIFFS
       Plaintiffs State National Bank of Big Spring, the 60 Plus Association, Inc., and the

Competitive Enterprise Institute (“Plaintiffs”) respectfully submit this errata sheet to correct

errors in their Joint Motion Requesting Entry of Judgment Against Plaintiffs, filed on February

16, 2018.
Location       Original Text                             Corrected Text
Paragraph      The order disposed of Plaintiffs’         The order disposed of Plaintiffs’
1              challenge based on the purported          challenge based on the purported recess
               recess appointment to serve as the        appointment of Richard Cordray to serve
               Director of the Consumer Financial        as the Director of the Consumer Financial
               Protection Bureau (the “Bureau”).         Protection Bureau (the “Bureau”).
Signature      Mary McLeod                               Mary McLeod
block          General Counsel                           General Counsel

               John R. Coleman                           John R. Coleman
               Deputy General Counsel                    Deputy General Counsel

               Lawrence DeMille-Wagman                   Steven Y. Bressler
               Senior Litigation Counsel                 Assistant General Counsel

               /s/Kristin Bateman                        Lawrence DeMille-Wagman
               Kristin Bateman, (CA Bar 270913)          Senior Litigation Counsel
               Senior Counsel
         Case 1:12-cv-01032-ESH Document 79 Filed 02/21/18 Page 2 of 4



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Dated: February 21, 2018                  Respectfully submitted,


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                                             2
Case 1:12-cv-01032-ESH Document 79 Filed 02/21/18 Page 3 of 4



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                              3
            Case 1:12-cv-01032-ESH Document 79 Filed 02/21/18 Page 4 of 4



                                   CERTIFICATE OF SERVICE

          I, Gregory Jacob, hereby certify that on February 21, 2018, I electronically filed the

foregoing through the CM/ECF system, which will send a notice of electronic filing to counsel of

record.

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